                                  Case 22-10066-CTG                  Doc 1        Filed 01/18/22           Page 1 of 17


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Team Systems International, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  16192 Coastal Highway
                                  Lewes, DE 19958-3608
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Sussex                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Team Systems International, LLC                                                          Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                5416

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                           The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy              No.
     cases filed by or against
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                              Case number
                                                 District                                 When                              Case number




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor    Team Systems International, LLC                                                               Case number (if known)
          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor                                                                   Relationship
                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                        No
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of
    creditors
                                        1-49                                           1,000-5,000                               25,001-50,000
                                        50-99                                          5001-10,000                               50,001-100,000
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50     million             $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion

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Debtor   Team Systems International, LLC                                            Case number (if known)
         Name

                            $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                            $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                            $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




Official Form 201                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
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Debtor    Team Systems International, LLC                                                          Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      January 18, 2022
                                                  MM / DD / YYYY


                             X   /s/ Deborah Evans Mott                                                   Deborah Evans Mott
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Member




18. Signature of attorney    X   /s/ Jamie L. Edmonson                                                     Date January 18, 2022
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Jamie L. Edmonson
                                 Printed name

                                 Robinson & Cole LLP
                                 Firm name

                                 1201 N. Market Street
                                 Suite 1406
                                 Wilmington, DE 19801-1163
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     302-516-1700                  Email address      jedmonson@rc.com

                                 4247 DE
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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                                  RESOLUTIONS ADOPTED BY
                                THE MANAGEMENT COMMITTEE
                                            OF
                              TEAM SYSTEMS INTERNATIONAL LLC

                       At a Meeting of the Management Committee of Directors
                                         On January 18, 2022

The Management Committee (the “Management Committee”) of Team Systems International, LLC, a
Delaware limited liability company (the “Company”), constituting a quorum and at least a majority
thereof, acting pursuant to Section 4.3(b)(xiv) of that certain Limited Liability Company Agreement of
Team Systems International, LLC, dated as of September 2005 (as amended, modified, restated or
supplemented from time to time, the “LLC Agreement”), hereby adopt the following resolutions.

Bankruptcy Resolutions

WHEREAS, it has been proposed that the Company seek relief (the “Bankruptcy Filing”) under the
provisions of Chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”); and

WHEREAS, the Management Committee previously met to discuss, among other things, the Company’s
operational results and a possible restructuring (including the Bankruptcy Filing); and

WHEREAS, the Management Committee believes that the commencement of a Chapter 11 case is in the
best interests of the Company, its shareholders, and its creditors; it is hereby

Bankruptcy Resolutions

NOW, THEREFORE, RESOLVED, that, based on factors and information deemed relevant by, and in
the judgment of, the Management Committee, it is desirable and in the best interest of the Company, its
creditors, its equity holders and other interested parties, that the Company be, and it hereby is, authorized,
empowered, and directed to file or cause to be filed in the United States Bankruptcy Court for the District
of Delaware (the “Bankruptcy Court”), at such time as is deemed necessary by the appropriate members
of the Company, a voluntary petition for relief (the “Petition”) under Chapter 11 of the Bankruptcy Code
and all other petitions, schedules, statements of affairs, documents, papers and pleadings necessary or
appropriate to effectuate the Petition and all other documents, papers and pleadings necessary or
appropriate in connection with the Chapter 11 case of the Company; and it is further

RESOLVED, that the Management Committee members, Deborah Evans Mott and Steve Acosta (each,
an “Authorized Member”, and collectively, the “Authorized Members”) be, and each of them, with full
authority to act, hereby is, authorized, empowered, and directed (i) to execute and verify the Petition and
any and all other documents, papers and pleadings necessary or appropriate in connection with the Chapter
11 case of the Company and to cause the Petition and any and all other documents papers and pleadings
necessary or appropriate in connection with the Chapter 11 case of the Company to be filed with the
Bankruptcy Court and to cause the Petition and any other documents, papers and pleadings necessary or
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appropriate to effectuate the Petition and any and all other documents, papers and pleadings necessary or
appropriate in connection with the Chapter 11 case of the Company to be filed with the Bankruptcy Court;
and (ii) to perform any and all such acts as are reasonable, advisable, expedient, convenient, proper, or
necessary, in the discretion of the Authorized Members, to effect any of the foregoing; and it is further

RESOLVED, that the Authorized Members, and such other officers as they shall from time to time
designate, be and each of them acting alone hereby is, authorized, empowered, and directed, on behalf of
and in the name of the Company, to execute, verify and file or cause to be filed all petitions, schedules,
lists, motions, objections, responses, applications, and other papers and documents necessary or desirable
in connection with the Chapter 11 case of the Company, including all such members’ certificates and such
other instruments and documents as they may deem appropriate, in connection with the Chapter 11 case,
and otherwise carry out the purpose and intent of the transactions described in the foregoing resolutions,
including any and all actions taken heretofore and hereafter to accomplish such purposes and intents, all
or singular; and it is further

RESOLVED; that the Company, as debtor and debtor-in-possession under Chapter 11 of the Bankruptcy
Code, is authorized and empowered to borrow funds from a lender or lenders as the Management
Committee deems appropriate, and/or to obtain the use of cash collateral in such amounts, from such
lender or lenders and on such terms as may be approved by any one or more of the Authorized Members
as reasonably necessary for the continuing conduct of the affairs of the Company and grant security
interests in and liens in and upon all or substantially all of the Company’s assets as may be deemed
necessary by any one or more of the Authorized Members in connection with such borrowings or the use
of such cash collateral (the “Financing”); and it is further

RESOLVED, that the Authorized Members, and such other officers as they shall from time to time
designate, hereby are authorized, empowered and directed to prepare, execute and deliver, in the name
and on behalf of the Company, such notes, guarantees, security agreements, intercreditor agreements and
all other agreements, documents and instruments as they may deem necessary or appropriate in connection
with the execution, delivery, and performance of the Financing and any other documents related thereto
or described therein, such Authorized Member’s or Authorized Members’ delivery thereof to be
conclusive evidence of such approval and approval of the Management Committee; and it is further

RESOLVED, that the Authorized Members, and such other officers as they shall from time to time
designate, be, hereby is, authorized, empowered and directed to retain the law firm of Robinson & Cole
LLP (“Robinson & Cole”), having an office located at 1201 N. Market Street Suite 1406 Wilmington,
Delaware 19801, as bankruptcy counsel, to represent and assist the Company in carrying out its duties
under the Bankruptcy Code and all other related matters in connection therewith, on such terms as the
Authorized Members, and such other officers as they shall from time to time designate shall approve, and
to take any and all actions to advance the Company’s rights and obligations, including without limitation,
filing any pleadings; and in connection therewith, the Authorized Members are hereby authorized,
empowered and directed to execute appropriate retention agreements, pay appropriate retainers prior to
and immediately upon filing of the Chapter 11 case and cause to be filed appropriate applications for
authority to retain the services of Robinson & Cole; and it is further

RESOLVED, that the Authorized Members, and such other officers as they shall from time to time
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designate, be, hereby is, authorized, empowered and directed on behalf of, and in the name of, the
Company to retain and employ other attorneys, investment bankers, accountants, restructuring
professionals, financial advisors, and other professionals (the “Other Professionals”) to assist in the
Chapter 11 case on such terms as are deemed necessary, proper or desirable; and it is further

General Resolutions

RESOLVED, that the Authorized Members, and such other officers as they shall from time to time
designate, are hereby authorized, empowered and directed, in the name and on behalf of the Company, to
make all such arrangements, to do and perform all such acts and things, and to execute and deliver all such
members’ certificates and such other instruments and documents, and to pay all such expenses, costs, fees,
or taxes, in each case, as in his or their judgment shall be necessary or desirable in order to carry out the
intent and accomplish the purposes of all of the foregoing resolutions; and it is further

RESOLVED, that all acts lawfully done or actions lawfully taken by any members or officer of the
Company, Robinson & Cole, or any of the Other Professionals in connection with the reorganization or
liquidation of the Company or any matter related thereto, or otherwise in order to carry out the intent and
accomplish the purposes of these resolutions be, and they hereby are, in all respects ratified, confirmed
and approved; and it is further

RESOLVED, that the retention of Robinson & Cole, be, and hereby is, in all respects ratified, confirmed
and approved; and it is further

RESOLVED, that the Authorized Members, and such other officers as they shall from time to time
designate, are hereby authorized with full power of delegations, for and in the name and on behalf of the
Company to amend, supplement, or otherwise modify from time to time the terms of any documents,
certificates, instruments, agreements, or other writings referred to in the foregoing resolutions; and it is
further

RESOLVED, that the taking of any action or the execution of any instrument by an Authorized Member
in connection with the foregoing resolutions shall be conclusive of such member’s determination that the
same is necessary to serve the best interests of the Company; and it is further

RESOLVED, that any and all actions of any member or officer of the Company taken prior to the date
hereof to carry out the purposes of the foregoing resolutions be, and they hereby are, ratified, confirmed
and approved in all respects.




                                         [Signature Page Follows]
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IN WITNESS WHEREOF, the undersigned have duly executed these Resolutions as of the date first
written above.


Management Committee

                                                By: ______________________________________

                                                Name: Deborah Evans Mott

                                                Title: Member/Director



                                                By: ______________________________________

                                                Name: Steven Acosta

                                                Title: Member/Director
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 Fill in this information to identify the case:
 Debtor name Team Systems International, LLC
 United States Bankruptcy Court for the: DISTRICT OF DELAWARE                                                                                     Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Bresky Law Firm                 Robin Bresky                    Legal Fees                                                                                                 $4,000.00
 150 E. Palmetto Park
 Rd., Suite 340                  rbresky@bresky-la
 Boca Raton, FL                  w.com
 33432                           561-994-6273
 CareFirst                       Billing Department              Trade debt                                                                                                 $5,200.00
 1501 South Clinton
 Street
 Baltimore, MD 21224             410-581-3000
 GPDEV, LLC                      M. Stephen Turner, Judgment                            Contingent                                                                    $3,297,995.32
 c/o M. Stephen                  Esq.                                                   Unliquidated
 Turner, P.A.                                                                           Disputed
 215 South Monroe                mstephenturner.pa
 Street, Suite 400               @gmail.com
 Tallahassee, FL
 32301
 Lindsay Blee                    John Canal                      Trade debt                                                                                               $96,431.00
 Americas LLC
 1110 Douglas                    jtcanal488@gmail.c
 Avenue                          om
 Altamonte Springs,
 FL 32714
 Simons Exploration              Leonard M. Collins, Judgment                           Contingent                                                                    $2,948,080.46
 c/o M. Stephen                  Esq.                                                   Unliquidated
 Turner, P.A.                                                                           Disputed
 215 South Monroe                leonard.collins@gr
 Street, Suite 400               ay-robinson.com
 Tallahassee, FL                 850-577-9090
 32301
 The Smith Firm                  Wayne LaRue                     Legal Fees                                                                                                 $2,000.00
 509 Whitehead                   Smith, Esq.
 Street
 Key West, FL 33040              wsmith@thesmithfi
                                 rm.com
                                 305-296-0029




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Team Systems International, LLC                                                                    Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Venable LLP                     James Y. Boland,                Legal Fees                                                                                               $24,000.00
 8010 Towers                     Esq.
 Crescent Drive,
 Suite 300                       jyboland@venable.
 Vienna, VA 22182                com
                                 703.760.1997




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Fill in this information to identify the case:

 Debtor name         Team Systems International, LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                 Schedule H: Codebtors (Official Form 206H)
                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          January 18, 2022                        X /s/ Deborah Evans Mott
                                                                       Signature of individual signing on behalf of debtor

                                                                       Deborah Evans Mott
                                                                       Printed name

                                                                       Member
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                               United States Bankruptcy Court
                                                                          District of Delaware
 In re      Team Systems International, LLC                                                                           Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Christopher Mott                                                                     4%                                         Member
 415 East Pine Street
 Orlando, FL 32801

 Deborah Evans Mott                                                                   75%                                        Member
 705 Riverside Drive
 Ormond Beach, FL 32176

 John Maciorowski                                                                     1%                                         Member
 705 Riverside Drive
 Ormond Beach, FL 32176

 Steven Acosta                                                                        20%                                        Member
 3901 Blue Sage Drive
 Prosper, TX 75078


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Member of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date January 18, 2022                                                       Signature /s/ Deborah Evans Mott
                                                                                            Deborah Evans Mott

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                      District of Delaware
 In re       Team Systems International, LLC                                                                  Case No.
                                                                              Debtor(s)                       Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                 $                 50,000.00
              Prior to the filing of this statement I have received                                       $                 50,000.00
              Balance Due                                                                                 $                       0.00

2.     The source of the compensation paid to me was:

                 Debtor            Other (specify):

3.     The source of compensation to be paid to me is:
                 Debtor            Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.    [Other provisions as needed]
                  Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                  reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                  522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                       CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     January 18, 2022                                                         /s/ Jamie L. Edmonson
     Date                                                                     Jamie L. Edmonson
                                                                              Signature of Attorney
                                                                              Robinson & Cole LLP
                                                                              1201 N. Market Street
                                                                              Suite 1406
                                                                              Wilmington, DE 19801-1163
                                                                              302-516-1700 Fax: 302-516-1699
                                                                              jedmonson@rc.com
                                                                              Name of law firm




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                                                               United States Bankruptcy Court
                                                                        District of Delaware
 In re      Team Systems International, LLC                                                            Case No.
                                                                                 Debtor(s)             Chapter     11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Team Systems International, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



 None [Check if applicable]




 January 18, 2022                                                    /s/ Jamie L. Edmonson
 Date                                                                Jamie L. Edmonson
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Team Systems International, LLC
                                                                     Robinson & Cole LLP
                                                                     1201 N. Market Street
                                                                     Suite 1406
                                                                     Wilmington, DE 19801-1163
                                                                     302-516-1700 Fax:302-516-1699
                                                                     jedmonson@rc.com




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                                                               United States Bankruptcy Court
                                                                      District of Delaware
 In re      Team Systems International, LLC                                                            Case No.
                                                                                Debtor(s)              Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Member of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       January 18, 2022                                        /s/ Deborah Evans Mott
                                                                     Deborah Evans Mott/Member
                                                                     Signer/Title




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                                            LLP                             17
16192 COASTAL HIGHWAY              8010 TOWERS CRESCENT DRIVE, SUITE 300
LEWES, DE 19958-3608               VIENNA, VA 22182

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JAMIE L. EDMONSON
ROBINSON & COLE LLP
1201 N. MARKET STREET
SUITE 1406
WILMINGTON, DE 19801-1163

BRESKY LAW FIRM
150 E. PALMETTO PARK RD., SUITE 340
BOCA RATON, FL 33432




CAREFIRST
1501 SOUTH CLINTON STREET
BALTIMORE, MD 21224




GPDEV, LLC
C/O M. STEPHEN TURNER, P.A.
215 SOUTH MONROE STREET, SUITE 400
TALLAHASSEE, FL 32301


LEONARD M. COLLINS, ESQ.
GRAYROBINSON, P.A.
301 SOUT BRONOUGH STREET, SUITE 600
TALLAHASSEE, FL 32301


LEONARD M. COLLINS, ESQ.
GRAYROBINSON, P.A.
301 SOUT BRONOUGH STREET, SUITE 600
TALLAHASSEE, FL 32301


LINDSAY BLEE AMERICAS LLC
1110 DOUGLAS AVENUE
ALTAMONTE SPRINGS, FL 32714




SIMONS EXPLORATION
C/O M. STEPHEN TURNER, P.A.
215 SOUTH MONROE STREET, SUITE 400
TALLAHASSEE, FL 32301


THE SMITH FIRM
509 WHITEHEAD STREET
KEY WEST, FL 33040
